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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

VIRGINIA BARRERA,
Plaintiff,

CIVIL ACTION NO. 5:10-CV-665 XR

MTC, INC. d!b/a 1
M] TlERRA CAFE AND BAKERY,
Defendant.

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AFFIDAVIT OF GEORGE P. CORTEZ

S'I`ATE OF TEXAS §
‘ §
COUNTY OF BEXAR §
BEFORE ME, the undersigned party, on this day personally appeared George P. Cortez,

being known to me on his oath deposed and said as follows:

1. “My name is George P. Cortez. l am over 21 years of age and have never been convicted
of a felony or of any crime involving moral turpitude lam of sound mind and capable of

making this Declaration. The facts stated herein are true and correct and are based on my

personal Lmowiedge:
2. “I am presently the Chief Operating Offtccr for MTC, loc. (“M'I`C”).
3. “MTC owns and operates the restaurant Mi Tierra Café and Bakery (“Mi Tierra”) in the

Market Square (El Mercado), in San Antonjo, Texas.
4. “Servers are paid weekly, and their paystub for each week includes a deduction equal to

$2.79 plus tax per day (which tota£s $3.02) that each server Works four (4) or more in a

shift

 

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5. “The deduction for a meal is mandatory and is taken by Mi Tierra as payment for the cost
of an average meal, regardless of whether the employee actually eats a meal, and
beverages made available to employees throughout their shifts

6. “The deduction taken by Mi Tierra does not include any profit to Mi Tierra

7. “If an employee notifies Mi Tierra that they have not eaten a meal and requests that they

not be charged, Mi Tierra will not take the deduction for the meal.

Further, Affiant sayeth not

éoA/,VL,’PC~JZ“)

George P. Cortez

SUBSCRIBED and SWORN to before me on this the Q`Wday of 5 &Q£C,IY`\ kg,

20i l, to which witness my hand and official seal.

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